District of Nebraska-Display Receipt                                                      Page 1 of 2
     8:14-cr-00324-LSC-SMB Doc # 33              Filed: 10/27/14    Page 1 of 2 - Page ID # 129



MIME-Version:1.0
From:ned-ecf.notification@ned.uscourts.gov
To:ecf.notice@ned.uscourts.gov
Bcc:
--Case Participants: Frederick D. Franklin (carrie.morrill@usdoj.gov,
fred.franklin@usdoj.gov, usane.ecfcrimoma@usdoj.gov), Guy K. Weinstein
(forney@kasaby.com, guy@kasaby.com, gweinstein1@gmail.com, kasaby@kasaby.com,
roth@kasaby.com), Magistrate Judge Thomas D. Thalken
(brandon_crainer@ned.uscourts.gov, denise_lucks@ned.uscourts.gov,
mary_beth_mcfarland@ned.uscourts.gov, tanya_langton@ned.uscourts.gov,
thomas_thalken@ned.uscourts.gov)
--Non Case Participants: Interpreter (l_garcia-hein@ned.uscourts.gov), Pretrial
Group (ecfnotice_nept@nept.uscourts.gov), Probation Officer Group
(ecfnotice_nep@nep.uscourts.gov)
--No Notice Sent:

Message-Id:<3045210@ned.uscourts.gov>
Subject:Activity in Case 8:14-mj-00272-TDT USA v. Suastegui Notice of Hearing
Content-Type: text/html

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                                          U.S. District Court

                                          District of Nebraska

Notice of Electronic Filing

The following transaction was entered on 10/27/2014 at 4:13 PM CDT and filed on 10/27/2014
Case Name:           USA v. Suastegui
Case Number:         8:14-mj-00272-TDT
Filer:
Document Number: 13(No document attached)

Docket Text:
TEXT NOTICE OF HEARING as to defendant Faustino Suastegui. The text minute entry
(Filing No. 8) incorrectly scheduled the next hearing at 2:30 p.m. on 10/28/2014 and has
now been corrected to: Detention Hearing and Preliminary Hearing set for 10/28/2014 at
10:30 AM in Courtroom 7, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza,
Omaha, NE before Magistrate Judge Thomas D. Thalken. (MBM)


8:14-mj-00272-TDT-1 Notice has been electronically mailed to:

Frederick D. Franklin     fred.franklin@usdoj.gov, carrie.morrill@usdoj.gov,



https://ecf.ned.circ8.dcn/cgi-bin/DisplayReceipt.pl?587465579991721-L_1_0-1                 11/19/2014
District of Nebraska-Display Receipt                                                   Page 2 of 2
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kasaby@kasaby.com, roth@kasaby.com

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